                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

 CHRISTIE ANDREWS,                               )
                                                 )
          Plaintiff,                             )
                                                 ) Case No. 3:21-cv-00526
 v.                                              )
                                                 )
 TRI STAR SPORTS AND                             ) JURY DEMAND
 ENTERTAINMENT GROUP, INC.                       )
                                                 )
          Defendant.                             )

______________________________________________________________________________

                 NOTICE OF CHANGE OF LAW FIRM ADDRESS
______________________________________________________________________________


              Please take notice that attorneys Tara L. Swafford, Thomas Anthony Swafford, and

Elizabeth G. Hart, counsel for Defendants, have a new law firm address:

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                                            Respectfully submitted,
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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 19th day of August 2021, a true and correct copy of the

foregoing was served via the Court’s electronic filing system on:

                              Roland Mumford
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                                             /s/    Elizabeth G. Hart
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